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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
21-MJ-84 (ZMF)
- against -

NICOLAS ANTHONY MONCADA,

Defendant.

MOTION TO CONTINUE STATUS HEARING

Mario F. Gallucci, counsel for defendant Moncada submits this Motion to Continue
Status Hearing in the above captioned matter currently scheduled for Friday, May 7,
2021. Defense counsel is seeking a continuance of the status hearing because he is
incapacitated with COVID and has been hospitalized since April 20"". Defense counsel is
requesting a 60 day eee of this matter. AUSA Cole is unopposed to the

continuance.

The defendant waives and agrees that the Speedy Trial Clock is tolled from May 7,

2021 until the next court date.

Respectfully submitted,
/s/

Mario F. Gallucci, Esq.

NYS Bar #2421287

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CERTIFICATE OF SERVICE

I hereby certify on the 5™ day of May, 2021 a copy of same was electronically
filed using the CM/ECF system and thus delivered to the parties of record and in pursuant

to the rules of the Clerk of the Court.

/s/

 

Mario F. Gallucci, Esq.

 
